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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA


 THIRD WAY, et al.,
                                Petitioners,

                       v.                                        Case No. 1:24-mc-00097 (EGS),
 NO LABELS,
                                  Defendant.




 DMITRI MEHLHORN,
                                 Petitioner,
                       v.                                        Case No. 1:24-mc-00101 (EGS)
 NO LABELS,
                                  Defendant.                     Underlying Litigation:
                                                                 No Labels v. NoLabels.com Inc.,
                                                                 No. 23 Civ. 1384 (D. Del)


                              PETITIONERS’ STATUS REPORT

      Petitioners Dmitri Mehlhorn, Third Way, Jon Cowan, Matthew Bennett, and Emily Cain

(the “Petitioners”) respectfully submit this status report in response to the Court’s December 23,

2024 Order. The Petitioners have conducted reasonable and diligent searches for Documents and

Communications responsive to Document Request Number One in No Labels’ Third-Party

Subpoenas. See Third Way, et al., v. No Labels, No. 24 Misc. 97 (EGS), ECF No. 2-7 at 8;

Mehlhorn v. No Labels, No. 24 Misc. 101 (EGS), ECF No. 1-3 at 72. The Petitioners have notified

No Labels of their compliance with Document Request Number One and with the Court’s

December 23, 2024 Order.

                       [SIGNATURES APPEAR ON THE NEXT PAGE]
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Dated: January 22, 2025



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